              Case 2:11-cr-00296-WBS Document 871 Filed 06/28/19 Page 1 of 3


     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4
     Attorney for Defendant
 5
     MANUEL HERRERA
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-11-296-WBS
 9
                                                     )
                                                     )
10          Plaintiff,                               )       STIPULATION AND [PROPOSED]
                                                     )       ORDER TO CONTINUE JUDGMENT AND
11
     v.                                              )       SENTENCING DATE
                                                     )
12
     MANUEL HERRERA,                                 )
                                                     )       Date: September 30, 2019
13   SANDRA HERMOSILLO,                              )       Time: 9:00 a.m.
     MOCTEZUMA TOVAR, and                            )       Judge: WILLIAM B. SHUBB
14
     JUN MICAHEL DIRAIN,                             )
                                                     )
15
                                                     )
            Defendants.
16

17

18

19
            This matter is presently set for judgment and sentencing before this court on August 19,
20
     2019. Trial defendants Ruben Rodriguez and Jamie Mayorga were found guilty (see, ECF 848)
21
     and have a sentencing date of September 10, 2019 before the Honorable John A. Mendez. The
22
     defendants in this matter appearing before this court have all pleaded guilty and are awaiting
23
     sentencing. As such, the parties are requesting the court vacate the presently scheduled
24
     sentencing date (August 19, 2019) and adopt the sentencing date (September 30, 2019) and
25
     proposed PSR/objection schedule submitted herein.
26
            Therefore, the United States of America through its undersigned counsel, Brian Fogerty,
27
     Assistant United States Attorney, together with counsel for defendant Moctezuma Tovar,
28
     Thomas A. Johnson, Esq., counsel for defendant Sandra Hermosillo, Erin J. Radekin, Esq.,


                                                         1
              Case 2:11-cr-00296-WBS Document 871 Filed 06/28/19 Page 2 of 3



 1   counsel for defendant Jun Michael Dirain, Timothy Zindel, Esq., and counsel for defendant
 2   Manuel Herrera, John R. Manning, Esq., hereby request the Court adopt the following schedule
 3   pertaining to the presentence report:
 4
                Judgment and Sentencing date:                                  9/30/19, 9:00 am
 5
                Reply, or Statement of Non-Opposition:                         9/23/19
 6
                Motion for Correction of the Presentence
 7
                Report Shall be filed with the Court and
 8              served on the Probation Officer and
                opposing counsel no later than:                                9/16/19
 9

10
                The (final) Presentence Report shall be filed
                with the Court and disclosed to counsel
11              no later than:                                                 9/9/19
12              Counsel’s written (informal) objections to the
13
                Presentence Report Shall be delivered
                to the probation officer and opposing
14              Counsel no later than:                                         8/26/19
15
                The draft Presentence Report (with any modifications
16              or updates) shall be filed with the Court and
                disclosed to counsel no later than:                            n/a
17

18      IT IS SO STIPULATED.
19

20   Dated: June 25, 2019                                        /s/ John R. Manning
                                                                 JOHN R. MANNING
21                                                               Attorney for Defendant
                                                                 Manuel Herrera
22

23   Dated: June 25, 2019                                        /s/ Thomas A. Johnson
                                                                 THOMAS A. JOHNSON
24                                                               Attorney for Defendant
                                                                 Moctezuma Tovar
25

26   Dated: June 25, 2019                                        /s/ Erin J. Radekin
                                                                 ERIN J. RADEKIN
27                                                               Attorney for Defendant
28
                                                                 Sandra Hermosillo



                                                     2
             Case 2:11-cr-00296-WBS Document 871 Filed 06/28/19 Page 3 of 3


     Dated: June 25, 2019                            /s/ Timothy Zindel
 1
                                                     TIMOTHY ZINDEL
 2                                                   Attorney for Defendant
                                                     Jun Michael Dirain
 3
     Dated: June 26, 2019                            McGregor W. Scott
 4
                                                     United States Attorney
 5
                                               by:   /s/ Brian A. Fogerty
 6                                                   BRIAN A. FOGERTY
 7
                                                     Assistant U.S. Attorney

 8
                                        ORDER
 9

10
           IT IS SO FOUND AND ORDERED.
11   Dated: June 27, 2019
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                           3
